Case 3:24-cv-00974-AN   Document 68-15   Filed 05/12/25   Page 1 of 11




            EXHIBIT 15
                      Case 3:24-cv-00974-AN                       Document 68-15                Filed 05/12/25               Page 2 of 11


                                                  UNITED STATES
                                      SECURITIES AND EXCHANGE COMMISSION
                                                                    Washington, D.C. 20549
                                                                         FORM 8-K
                                                          CURRENT REPORT
                                  Pursuant to Section 13 OR 15(d) of The Securities Exchange Act of 1934

                                                                     June 29, 2023
                                                     Date of Report (date of earliest event reported)




                                                                        NIKE, Inc.
                                                (Exact name of registrant as specified in its charter)
                           Oregon                                              1-10635                                          XX-XXXXXXX
        (State or other jurisdiction of incorporation)               (Commission File Number)                        (I.R.S. Employer Identification No.)


                                                                    ONE BOWERMAN DRIVE
                                                                  BEAVERTON, OR 97005-6453
                                                         (Address of principal executive offices and zip code)

                                                                           (503) 671-6453
                                                         Registrant's telephone number, including area code

                                                                       NO CHANGE
                                                  (Former name or former address, if changed since last report.)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under any of the following
provisions:

☐    Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)

☐    Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)

☐    Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))

☐    Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

Securities registered pursuant to Section 12(b) of the Act:

                  Class B Common Stock                                          NKE                                     New York Stock Exchange
                    (Title of each class)                                 (Trading Symbol)                       (Name of each exchange on which registered)


Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of 1933 (§230.405 of this chapter)
or Rule 12b-2 of the Securities Exchange Act of 1934 (§240.12b-2 of this chapter).
                                                                                                                               Emerging growth company ☐

If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or
revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act.
                                                                                                                                                                  ☐




                                                                                                                                            Exhibit 15 - page 1
                     Case 3:24-cv-00974-AN                     Document 68-15                 Filed 05/12/25             Page 3 of 11



Item 2.02 Results of Operations and Financial Condition
Today NIKE, Inc. issued a press release disclosing financial results for the fiscal quarter ended May 31, 2023. The text of the release is furnished herewith as
Exhibit 99.1.

Item 9.01 Financial Statements and Exhibits

         (d) Exhibits.

The following exhibits are furnished with this Form 8-K:

         Exhibit No.                                                                         Exhibit
            99.1                      NIKE, Inc. Press Release dated June 29, 2023
            104                       Cover Page Interactive Data File (embedded within the Inline XBRL document)

                                                                         SIGNATURES

        Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its behalf by the
undersigned hereunto duly authorized.

                                                                           NIKE, Inc.
                                                                          (Registrant)

Date:    June 29, 2023                                                                 By: /s/ Matthew Friend
                                                                                           Matthew Friend
                                                                                           Executive Vice President and Chief Financial Officer




                                                                                                                                         Exhibit 15 - page 2
                  Case 3:24-cv-00974-AN              Document 68-15           Filed 05/12/25         Page 4 of 11




Investor Contact:                                                                                                         Media Contact:
Paul Trussell                                                                                                  Virginia Rustique-Petteni
investor.relations@nike.com                                                                                   media.relations@nike.com


                              NIKE, INC. REPORTS FISCAL 2023 FOURTH QUARTER
                                           AND FULL YEAR RESULTS

BEAVERTON, Ore., June 29, 2023 — NIKE, Inc. (NYSE:NKE) today reported financial results for its fiscal 2023 fourth quarter and
full year ended May 31, 2023.

•   Full year reported revenues were $51.2 billion, up 10 percent compared to prior year and up 16 percent on a currency-neutral
    basis*
•   Fourth quarter reported revenues were $12.8 billion, up 5 percent compared to prior year and up 8 percent on a currency-
    neutral basis
•   NIKE Direct reported revenues for the fourth quarter were $5.5 billion, up 15 percent compared to prior year and up 18 percent
    on a currency-neutral basis
•   Wholesale reported revenues for the fourth quarter were $6.7 billion, down 2 percent compared to prior year and up 2 percent
    on a currency-neutral basis
•   Gross margin for the fourth quarter decreased 140 basis points to 43.6 percent
•   Diluted earnings per share was $0.66 for the fourth quarter

“NIKE’s strong results make clear that our strategy is working,” said John Donahoe, President & CEO, NIKE, Inc. “FY23 was a
milestone year for NIKE as our unique advantages continue to drive competitive separation. Our investment in innovation and our
digital leadership are fueling broad-based growth across our portfolio of brands, as we create value by serving the future of sport.”**

Matthew Friend, Executive Vice President and Chief Financial Officer, said, “FY23 demonstrated the power of NIKE’s portfolio to
fuel strong growth, year after year. We finished the year with mid-teens currency-neutral revenue growth and a healthy marketplace
— setting the foundation for sustainable, profitable growth in FY24 and beyond.”**

Fourth Quarter Income Statement Review

•   Revenues for NIKE, Inc. increased 5 percent to $12.8 billion compared to the prior year and were up 8 percent on a currency-
    neutral basis.
    ◦ Revenues for the NIKE Brand were $12.2 billion, up 5 percent on a reported basis and up 8 percent on a currency-neutral
        basis, with growth across all brands, channels and geographies.
    ◦ NIKE Direct revenues were $5.5 billion, up 15 percent compared to prior year and up 18 percent on a currency-neutral
        basis, led by NIKE-owned stores growth of 24 percent and NIKE Brand Digital growth of 14 percent.
    ◦ Revenues for Converse were $586 million, down 1 percent on a reported basis and up 1 percent on a currency-neutral
        basis, led by double-digit growth in Asia, offset by declines in Europe.
•   Gross margin decreased 140 basis points to 43.6 percent, primarily due to higher product input costs and elevated freight and
    logistics costs, higher markdowns and continued unfavorable changes in net foreign currency exchange rates — partially offset
    by strategic
    pricing actions and lapping higher inventory obsolescence reserves in Greater China in the prior period.
•   Selling and administrative expense increased 8 percent to $4.4 billion.
    ◦ Demand creation expense was $1.1 billion, up 3 percent, primarily due to sports marketing, and advertising and marketing
        expense.
    ◦ Operating overhead expense increased 10 percent to $3.3 billion, primarily due to wage-related expenses and NIKE Direct
        variable costs.
•   The effective tax rate was 17.3 percent compared to (4.7) percent for the same period last year, due to a non-cash, one-time
    benefit in the prior year related to the onshoring of our non-U.S. intangible property.
•   Net income was $1.0 billion, down 28 percent, and Diluted earnings per share was $0.66, down 27 percent compared to prior
    year.

Fiscal 2023 Income Statement Review
                                                                                                                  Exhibit 15 - page 3
•   Revenues for NIKE, Inc. increased 10 percent to $51.2 billion, up 16 percent on a currency-neutral basis.
     ◦   RevenuesCasefor the 3:24-cv-00974-AN         Document
                             NIKE Brand were $48.8 billion,          68-15on a reported
                                                            up 10 percent        Filed 05/12/25
                                                                                          basis and up Page  5 ofon
                                                                                                       16 percent 11a currency-neutral
         basis, driven by double-digit growth across NIKE Direct and our wholesale business.
     ◦ NIKE Direct revenues were $21.3 billion, up 14 percent on a reported basis and up 20 percent on a currency-neutral basis,
         led by NIKE Brand Digital growth of 24 percent and NIKE-owned stores growth of 14 percent.
     ◦ Revenues for Converse were $2.4 billion, up 3 percent on a reported basis and up 8 percent on a currency-neutral basis,
         led by double-digit growth in North America, partially offset by declines in Asia.
•    Gross margin decreased 250 basis points to 43.5 percent, primarily due to higher product input costs and elevated freight and
     logistics costs, higher markdowns and continued unfavorable changes in net foreign currency exchange rates — partially offset
     by strategic pricing actions.
•    Selling and administrative expense increased 11 percent to $16.4 billion.
     ◦ Demand creation expense was $4.1 billion, up 5 percent compared to prior year, primarily due to advertising and marketing,
         and sports marketing expense.
     ◦ Operating overhead expense increased 12 percent to $12.3 billion primarily due to wage-related expenses, NIKE Direct
         variable costs and higher strategic technology enterprise investments.
•    The effective tax rate was 18.2 percent, compared to 9.1 percent for the same period last year, due to decreased benefits from
     stock-based compensation and a non-cash, one-time benefit in the prior year related to the onshoring of our non-U.S. intangible
     property.
•    Net income was $5.1 billion, down 16 percent, and Diluted earnings per share was $3.23, down 14 percent compared to prior
     year.

May 31, 2023 Balance Sheet Review

•    Inventories for NIKE, Inc. were $8.5 billion, flat compared to the prior year period.
•    Cash and equivalents and short-term investments were $10.7 billion, $2.3 billion lower than prior year, as cash generated
     by operations was used for share repurchases, cash dividends, capital expenditures and the retirement of $500 million of debt
     upon maturity.

Shareholder Returns

NIKE continues to have a strong track record of investing to fuel growth and consistently increasing returns to shareholders,
including 21 consecutive years of increasing dividend payouts.

In the fourth quarter, the Company returned approximately $1.9 billion to shareholders, including:
• Dividends of $524 million, up 9 percent from prior year.
• Share repurchases of $1.4 billion, reflecting 11.5 million shares retired as part of the four-year, $18 billion program approved
    by the Board of Directors in June 2022.

In fiscal 2023, the Company returned approximately $7.5 billion to shareholders, including:
• Dividends of $2.0 billion, up 10 percent from prior year.
• Share repurchases of $5.5 billion, reflecting 50.0 million shares retired. The Company repurchased $0.7 billion, reflecting 6.5
     million shares retired under the Company’s previous four-year, $15 billion program approved by the Board of Directors in June
     2018 and $4.8 billion, reflecting 43.5 million shares retired under the Company’s current four-year, $18 billion program approved
     by the Board of Directors in June 2022.

Under the previous $15 billion program, which was terminated in August 2022, a total of 83.8 million shares for $9.4 billion were
repurchased.

Conference Call

NIKE, Inc. management will host a conference call beginning at approximately 2:00 p.m. PT on June 29, 2023, to review fiscal
fourth quarter and full year results. The conference call will be broadcast live via the Internet and can be accessed at
http://investors.nike.com. For those unable to listen to the live broadcast, an archived version will be available at the same location
through 9:00 p.m. PT, July 20, 2023.

About NIKE, Inc.

NIKE, Inc., based near Beaverton, Oregon, is the world’s leading designer, marketer and distributor of authentic athletic footwear,
apparel, equipment and accessories for a wide variety of sports and fitness activities. Converse, a wholly-owned NIKE, Inc.
subsidiary brand, designs, markets and distributes athletic lifestyle footwear, apparel and accessories. For more information, NIKE,
Inc.’s earnings releases and other financial information are available on the Internet at http://investors.nike.com. Individuals can
also visit http://news.nike.com and follow @NIKE.
*    See additional information in the accompanying Divisional Revenues table or the Supplemental NIKE Brand Revenue table regarding this non-GAAP financial measure.
**   The marked paragraphs contain forward-looking statements that involve risks and uncertainties that could cause actual results to differ materially. These risks and uncertainties
     are detailed from time to time in reports filed by NIKE with the U.S. Securities and Exchange Commission (SEC), including Forms 8-K, 10-Q and 10-K.
                                                                                                                                                          Exhibit 15 - page 4
                                                                                (Tables Follow)
Case 3:24-cv-00974-AN   Document 68-15   Filed 05/12/25   Page 6 of 11




                                                                    Exhibit 15 - page 5
                      Case 3:24-cv-00974-AN            Document 68-15              Filed 05/12/25          Page 7 of 11




                                                              NIKE, Inc.
                                              CONSOLIDATED STATEMENTS OF INCOME
                                                                (Unaudited)

                                                        THREE MONTHS ENDED                 %           TWELVE MONTHS ENDED              %
(In millions, except per share data)                   5/31/2023     5/31/2022           Change        5/31/2023     5/31/2022        Change
Revenues                                           $       12,825 $      12,234               5 %$         51,217 $      46,710           10 %
Cost of sales                                                7,230         6,731              7%           28,925        25,231           15 %
Gross profit                                                 5,595         5,503              2%           22,292        21,479            4%
  Gross margin                                                43.6 %        45.0 %                            43.5 %        46.0 %

Demand creation expense                                    1,092              1,061          3%            4,060           3,850           5%
Operating overhead expense                                 3,282              2,974         10 %          12,317          10,954          12 %
Total selling and administrative expense                   4,374              4,035          8%           16,377          14,804          11 %
 % of revenues                                              34.1 %             33.0 %                       32.0 %          31.7 %

Interest expense (income), net                               (28)                 40        —                 (6)            205          —
Other (income) expense, net                                    3                  54        —               (280)           (181)         —
Income before income taxes                                 1,246              1,374         -9 %           6,201           6,651          -7 %
Income tax expense (benefit)                                 215                 (65)      431 %           1,131             605          87 %
  Effective tax rate                                        17.3 %              (4.7)%                      18.2 %            9.1 %

NET INCOME                                         $       1,031     $        1,439         -28 % $        5,070     $     6,046         -16 %

Earnings per common share:
 Basic                                             $        0.67     $         0.91         -26 % $         3.27     $      3.83         -15 %
 Diluted                                           $        0.66     $         0.90         -27 % $         3.23     $      3.75         -14 %

Weighted average common shares outstanding:
 Basic                                                    1,536.5         1,572.0                         1,551.6        1,578.8
 Diluted                                                  1,556.3         1,595.0                         1,569.8        1,610.8

Dividends declared per common share                $       0.340     $        0.305                $       1.325     $     1.190




                                                                                                                         Exhibit 15 - page 6
                    Case 3:24-cv-00974-AN          Document 68-15      Filed 05/12/25       Page 8 of 11




                                                        NIKE, Inc.
                                              CONSOLIDATED BALANCE SHEETS
                                                         (Unaudited)

                                                                                  May 31,          May 31,
(Dollars in millions)                                                              2023             2022         % Change
ASSETS
Current assets:
  Cash and equivalents                                                        $          7,441 $         8,574        -13 %
  Short-term investments                                                                 3,234           4,423        -27 %
  Accounts receivable, net                                                               4,131           4,667        -11 %
  Inventories                                                                            8,454           8,420          0%
  Prepaid expenses and other current assets                                              1,942           2,129         -9 %
Total current assets                                                                    25,202          28,213        -11 %
  Property, plant and equipment, net                                                     5,081           4,791          6%
  Operating lease right-of-use assets, net                                               2,923           2,926          0%
  Identifiable intangible assets, net                                                      274             286         -4 %
  Goodwill                                                                                 281             284         -1 %
  Deferred income taxes and other assets                                                 3,770           3,821         -1 %
TOTAL ASSETS                                                                  $         37,531 $        40,321         -7 %
LIABILITIES AND SHAREHOLDERS’ EQUITY
Current liabilities:
  Current portion of long-term debt                                           $             — $            500       -100 %
  Notes payable                                                                              6              10        -40 %
  Accounts payable                                                                       2,862           3,358        -15 %
  Current portion of operating lease liabilities                                           425             420          1%
  Accrued liabilities                                                                    5,723           6,220         -8 %
  Income taxes payable                                                                     240             222          8%
Total current liabilities                                                                9,256          10,730        -14 %
  Long-term debt                                                                         8,927           8,920          0%
  Operating lease liabilities                                                            2,786           2,777          0%
  Deferred income taxes and other liabilities                                            2,558           2,613         -2 %
  Redeemable preferred stock                                                                —               —          —
  Shareholders’ equity                                                                  14,004          15,281         -8 %
TOTAL LIABILITIES AND SHAREHOLDERS’ EQUITY                                    $         37,531 $        40,321         -7 %




                                                                                                        Exhibit 15 - page 7
                     Case 3:24-cv-00974-AN                     Document 68-15                Filed 05/12/25             Page 9 of 11




                                                                        NIKE, Inc.
                                                               DIVISIONAL REVENUES
                                                                          (Unaudited)


                                                                                      % Change                                                     % Change
                                                                                      Excluding                                                    Excluding
                                           THREE MONTHS ENDED            %            Currency       TWELVE MONTHS ENDED              %            Currency
(Dollars in millions)                       5/31/2023 5/31/2022        Change         Changes1        5/31/2023 5/31/2022           Change         Changes1
North America
  Footwear                             $        3,807 $       3,580           6%               7 %$        14,897 $       12,228          22 %             22 %
  Apparel                                       1,349         1,375          -2 %             -2 %          5,947          5,492           8%               9%
  Equipment                                       199           160          24 %             24 %            764            633          21 %             21 %
      Total                                     5,355         5,115           5%               5%          21,608         18,353          18 %             18 %
Europe, Middle East & Africa
  Footwear                                      2,174         2,030           7%              11 %          8,260          7,388          12 %             25 %
  Apparel                                       1,038         1,083          -4 %              0%           4,566          4,527           1%              14 %
  Equipment                                       138           138           0%               4%             592            564           5%              18 %
      Total                                     3,350         3,251           3%               7%          13,418         12,479           8%              21 %
Greater China
  Footwear                                      1,336         1,178          13 %             22 %          5,435          5,416           0%               8%
  Apparel                                         438           350          25 %             36 %          1,666          1,938         -14 %             -7 %
  Equipment                                        36            33           9%              19 %            147            193         -24 %            -18 %
      Total                                     1,810         1,561          16 %             25 %          7,248          7,547          -4 %              4%
Asia Pacific & Latin America
  Footwear                                      1,230        1,197            3%               7%           4,543          4,111          11 %             19 %
  Apparel                                         409          429           -5 %              1%           1,664          1,610           3%              13 %
  Equipment                                        57           56            2%               8%             224            234          -4 %              4%
      Total                                     1,696        1,682            1%               6%           6,431          5,955           8%              17 %
Global Brand Divisions2                            14           48          -71 %            -72 %             58            102         -43 %            -43 %
TOTAL NIKE BRAND                               12,225       11,657            5%               8%          48,763         44,436          10 %             16 %
Converse                                          586          593           -1 %              1%           2,427          2,346           3%               8%
Corporate3                                         14          (16)          —                —                27            (72)         —                —
TOTAL NIKE, INC. REVENUES              $       12,825 $     12,234            5%               8 %$        51,217 $       46,710          10 %             16 %

TOTAL NIKE BRAND
   Footwear                              $       8,547 $       7,985            7%               10 % $     33,135 $       29,143            14 %            20 %
   Apparel                                       3,234         3,237            0%                3%        13,843         13,567             2%              8%
   Equipment                                       430           387           11 %              14 %        1,727          1,624             6%             13 %
   Global Brand Divisions2                          14            48          -71 %             -72 %           58             102          -43 %           -43 %
TOTAL NIKE BRAND REVENUES                $     12,225 $       11,657            5%                8 %$      48,763 $       44,436            10 %            16 %
1
  The percent change has been calculated using actual exchange rates in use during the comparative prior year period and is provided to enhance the visibility
of the underlying business trends by excluding the impact of translation arising from foreign currency exchange rate fluctuations, which is considered a non-
GAAP financial measure. Management uses this non-GAAP financial measure when evaluating the Company's performance, including when making financial
and operating decisions. Additionally, management believes this non-GAAP financial measure provides investors with additional financial information that should
be considered when assessing the Company’s underlying business performance and trends. References to this measure should not be considered in isolation
or as a substitute for other financial measures calculated and presented in accordance with U.S. GAAP and may not be comparable to similarly titled non-GAAP
measures used by other companies.
2
  Global Brand Divisions revenues include NIKE Brand licensing and other miscellaneous revenues that are not part of a geographic operating segment.
3
  Corporate revenues primarily consist of foreign currency hedge gains and losses related to revenues generated by entities within the NIKE Brand geographic
operating segments and Converse, but managed through the Company’s central foreign exchange risk management program.




                                                                                                                                        Exhibit 15 - page 8
                    Case 3:24-cv-00974-AN                     Document 68-15                 Filed 05/12/25             Page 10 of 11




                                                                        NIKE, Inc.
                                            SUPPLEMENTAL NIKE BRAND REVENUE DETAILS
                                                                           (Unaudited)
                                                                                                                                                   % Change
                                                                                                                                                   Excluding
                                                                                             TWELVE MONTHS ENDED                      %
                                                                                                                                                   Currency
(Dollars in millions)                                                                        5/31/2023         5/31/2022           Change          Changes1
NIKE Brand Revenues by:
  Sales to Wholesale Customers                                                           $         27,397 $           25,608                7%              14 %
  Sales through NIKE Direct                                                                        21,308             18,726               14 %             20 %
  Global Brand Divisions2                                                                              58                102              -43 %            -43 %
TOTAL NIKE BRAND REVENUES                                                                $         48,763 $           44,436               10 %             16 %

NIKE Brand Revenues on a Wholesale Equivalent Basis:3
  Sales to Wholesale Customers                                                           $         27,397 $           25,608               7%               14 %
  Sales from our Wholesale Operations to NIKE Direct Operations                                    12,730             10,543              21 %              27 %
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                           $         40,127 $           36,151              11 %              18 %

NIKE Brand Wholesale Equivalent Revenues by:3,4
   Men’s                                                                                 $          20,733 $           18,797               10 %             17 %
   Women’s                                                                                           8,606              8,273                4%              11 %
   NIKE Kids’                                                                                        5,038              4,874                3%              10 %
   Jordan Brand                                                                                      6,589              5,122               29 %             35 %
   Others4                                                                                            (839)              (915)               8%               -3 %
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                           $          40,127 $           36,151               11 %             18 %
1
  The percent change has been calculated using actual exchange rates in use during the comparative prior year period and is provided to enhance the visibility
of the underlying business trends by excluding the impact of translation arising from foreign currency exchange rate fluctuations, which is considered a non-
GAAP financial measure. Management uses this non-GAAP financial measure when evaluating the Company's performance, including when making financial
and operating decisions. Additionally, management believes this non-GAAP financial measure provides investors with additional financial information that should
be considered when assessing the Company’s underlying business performance and trends. References to this measure should not be considered in isolation
or as a substitute for other financial measures calculated and presented in accordance with U.S. GAAP and may not be comparable to similarly titled non-GAAP
measures used by other companies.
2
  Global Brand Divisions revenues include NIKE Brand licensing and other miscellaneous revenues that are not part of a geographic operating segment.
3
  References to NIKE Brand wholesale equivalent revenues, which are considered non-GAAP financial measures, are intended to provide context as to the total
size of the Company’s NIKE Brand market footprint if it had no NIKE Direct operations. NIKE Brand wholesale equivalent revenues consist of 1) sales to
external wholesale customers and 2) internal sales from the Company’s wholesale operations to its NIKE Direct operations which are charged at prices
comparable to those charged to external wholesale customers. Management uses this non-GAAP financial measure when evaluating the Company's
performance, including when making financial and operating decisions. Additionally, management believes this non-GAAP financial measure provides investors
with additional financial information that should be considered when assessing the Company’s underlying business performance and trends. References to this
measure should not be considered in isolation or as a substitute for other financial measures calculated and presented in accordance with U.S. GAAP and may
not be comparable to similarly titled non-GAAP measures used by other companies.
4
  Others include products not allocated to Men’s, Women’s, NIKE Kids’ and Jordan Brand, as well as certain adjustments that are not allocated to products
designated by consumer.




                                                                                                                                          Exhibit 15 - page 9
                    Case 3:24-cv-00974-AN                    Document 68-15                Filed 05/12/25             Page 11 of 11



                                                                       NIKE, Inc.
                                               EARNINGS BEFORE INTEREST AND TAXES1
                                                                         (Unaudited)

                                                        THREE MONTHS ENDED                    %              TWELVE MONTHS ENDED                    %
(Dollars in millions)                                  5/31/2023    5/31/2022               Change           5/31/2023    5/31/2022               Change
North America                                      $        1,390 $      1,478                    -6 % $          5,454 $       5,114                      7%
Europe, Middle East & Africa                                  781          899                   -13 %            3,531        3,293                       7%
Greater China                                                 529          311                    70 %            2,283        2,365                      -3 %
Asia Pacific & Latin America                                  462          549                   -16 %            1,932        1,896                       2%
Global Brand Divisions2                                    (1,268)      (1,229)                   -3 %           (4,841)      (4,262)                    -14 %
TOTAL NIKE BRAND1                                           1,894        2,008                    -6 %            8,359        8,406                      -1 %
Converse                                                        150              165                 -9 %             676               669                 1%
Corporate3                                                     (826)            (759)                -9 %         (2,840)            (2,219)              -28 %
TOTAL NIKE, INC. EARNINGS BEFORE
INTEREST AND TAXES1                                           1,218            1,414                -14 %          6,195              6,856               -10 %
  EBIT margin1                                                   9.5 %           11.6 %                              12.1 %            14.7 %
Interest expense (income), net                                  (28)               40                —                 (6)              205                —
TOTAL NIKE, INC. INCOME BEFORE INCOME
TAXES                                                $        1,246 $          1,374                 -9 % $        6,201 $            6,651                -7 %
1
  The Company evaluates the performance of individual operating segments based on earnings before interest and taxes (commonly referred to as "EBIT"),
which represents net income before interest expense (income), net and income tax expense. Total NIKE Brand EBIT, Total NIKE, Inc. EBIT and EBIT margin are
considered non-GAAP financial measures. Management uses these non-GAAP financial measures when evaluating the Company's performance, including
when making financial and operating decisions. Additionally, management believes these non-GAAP financial measures provide investors with additional
financial information that should be considered when assessing the Company’s underlying business performance and trends. EBIT margin is calculated as EBIT
divided by total NIKE, Inc. Revenues. References to EBIT and EBIT margin should not be considered in isolation or as a substitute for other financial measures
calculated and presented in accordance with U.S. GAAP and may not be comparable to similarly titled non-GAAP measures used by other companies.
2
  Global Brand Divisions primarily represent demand creation and operating overhead expense, including product creation and design expenses that are
centrally managed for the NIKE Brand, as well as costs associated with NIKE Direct global digital operations and enterprise technology. Global Brand Divisions
revenues include NIKE Brand licensing and other miscellaneous revenues that are not part of a geographic operating segment.
3
  Corporate consists primarily of unallocated general and administrative expenses, including expenses associated with centrally managed departments;
depreciation and amortization related to the Company’s corporate headquarters; unallocated insurance, benefit and compensation programs, including stock-
based compensation; and certain foreign currency gains and losses, including certain hedge gains and losses.




                                                                                                                                     Exhibit 15 - page 10
